Case 2:O4-cv-O2887-BBD-dkv Document 12 Filed 05/12/05 Page 1 of 2 Page|D 26

UNITED STA TES DIS TRICT CoURT H!`E& if ' f?@( »-.;:.c.
WESTERN DISTRICT OF TENNESSEE n“ FF"" 2.0,»; ;, 55
WESTERN DIVISION

 

 

PROGRESSIVE CLASSIC INSURANCE JUDGMENT IN A CIVIL CASE
COMPANY CASE NO: 04-2887-D
v.

SCOTT SARTIN d/b/a PYRAMID ESCORT

SERVICES, PYRAMID ESCORT SERVICE, INC.,

DONALD DAVIDSON, BRIAN MURPHY, CARVER BOAT
CORPORATION, LLC, JUSTUS BOAT TRANSPORT
"SOUTHERN" INC., SCITUATE YACHT COMPANY, INC.,
and ESSEX INSURANCE COMPANY

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Final
Judgment Order as to Defendants Scott Sartin d/b/a Pyramid Escort
Service, Inc., entered on.April 12, 2005 and the Order of Dismissal
Without Prejudice entered on April 28, 2005, this cause is hereby
dismissed.

APPROVED:

 

TED STATES DISTRICT COURT

v/?’}M // am "YSEERT R. m n

DateL 67 Clerk of Court

fws/j W

(BYL?/Depq£¥ Clerk¢

Tmsdocumentenmredonthedocketshemincomphanca

with Rule 58 and!or?§(a )FHCP on , 2 "/(Q Q 2

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02887 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

Kenneth R. Rudstrom

SPICER FLYNN & RUDSTROM
80 Monroe Ave.

Ste. 500

1\/1emphis7 TN 38103

lay R. Starrett

WHYTE H[RSCHBOECK DUDEK S.C.
555 East Wells St.

Ste. 1900

Milwaukee, WI 53202

Steven F. Stanaszak

WHYTE H[RSCHBOECK DUDEK S.C.
555 East Wells St.

Ste. 1900

Milwaukee, WI 53202

Honorable Bernice Donald
US DISTRICT COURT

